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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MISSOURI

FREDERICK CARLETON,                     )
BARRY HORWITZ,                          )
ELLA RABER,                             )
DOROTHEA PARKS,                         )
ANN FRANK and                           )
SHERRI FRANK WEINTROP,                  )
                                        )
      Plaintiffs,                       )
                                        )
      v.                                )        Case No. 4:22-cv-113
                                        )
COMMUNITY HOUSING                       )
    MANAGEMENT CORP.,                   )
JOAN DENISON,                           )
JACQUELINE JONES/TAYLOR                 )        JURY TRIAL DEMANDED
KATISHA REESE                           )
RANDALL REINKER,                        )
                                        )
      Defendants.                       )

                                    COMPLAINT

      Plaintiffs, FREDERICK CARLETON, BARRY HORWITZ, ELLA RABER,

DOROTHEA PARKS, ANN FRANK, and SHERRI FRANK WEINTROP

(hereinafter “Plaintiffs”), as and for their Complaint against Defendants

COMMUNITY HOUSING MANAGEMENT CORP., JOAN DENISON,

JACQUELINE JONES/TAYLOR, KATISHA REESE and RANDALL REINKER

(hereinafter “Defendants”), allege as follows:

                                 INTRODUCTION
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       1.     Plaintiffs are the elderly residents, or family members of residents, who

have been subject to fraud and coercion by defendants through an enterprise

controlling the management company of a federally subsidized housing complex.

       2.     Members of the property management company attempted to hide their

fraud by hiring a law firm to falsely allege Plaintiffs violated the lease between the parties

and then evict the tenant as punishment for asserting their rights under the lease.

       3.     Such conduct was as a pattern or practice of dealing with those who

complained that their income was being miscalculated by members of the management

company and Defendants derived income for and from their fraudulent actions.

       4.     The need for such relief is immediate and the resulting damages are

irreparable as ELLA RABER and DOROTHEA PARKS, two Plaintiffs, currently have

judgments entered against them on December 27, 2021, in state court in case number

21SL-AC15181 and 21SL-AC15198 respectively and RANDALL REINKER is seeking

to remove them from their homes upon execution, having been denied the right to a

jury trial because of Defendants’ fraudulent acts. Without this Court’s immediate action

Plaintiffs are left with no adequate remedy as they have been deprived of a jury trial in

an Unlawful Detainer action as a result of Defendants’ willful actions and are on fixed

incomes and cannot afford a “market rate” bond to appeal the state court matter.

                           JURISDICTION AND VENUE

       5.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,

2201, 2202, and 42. U.S.C. § 1983 in that this action seeks to redress the deprivation of,
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under color of the laws, statute, ordinances, regulations, customs and usages of the

Defendants as they execute, administer and enforce the complained of actions, of the

rights, privileges or immunities secured by the United States Constitution through the

XIV Amendment to the United States Constitution and by Act of Congress and to

determine whether Defendants are culpable for actions which amount to violation of

Constitutional Rights and the RICO Act for using coercion, illegal acts and the threat

of unfounded litigation in retaliating against witnesses who provided evidence of fraud

to HUD. Plaintiffs further bring action for fraud, willful breach of contract, violation

of the Missouri Merchandising Practices Act (hereinafter “MMPA”) and negligent

supervision.

       6.      This Court has personal jurisdiction over each of the Defendants because,

inter alia, the majority of the actions complained of took place within the geographic

confines of the State of Missouri within the Eastern District.

       7.      Venue is proper pursuant to 28 U.S.C. § 1391 as a substantial part of the

events or omissions giving rise to the claim occurred within St. Louis County which is

within this judicial district of the Eastern District of Missouri.

                                     PLAINTIFFS

       8.      Plaintiff Frederick Carleton (hereinafter “CARLETON”) is a citizen of

the United States and resident of St. Louis County, State of Missouri and currently

resides at 8 Millstone Campus Drive, #441, St. Louis, Missouri 63146 known as

Covenant Place and is a senior citizen having resided there for (6) years.
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       9.     Plaintiff Barry Horwitz (hereinafter “HORWITZ”) is a citizen of the

United States and resident of St. Louis County, State of Missouri and currently resides

at 10 Millstone Campus Drive, #312, St. Louis, Missouri 63146 known as Covenant

Place and is a senior citizen and having resided there for three (3) years.

       10.    Plaintiff Ella Raber (hereinafter “RABER”) is a citizen of the United

States and resident of St. Louis County, State of Missouri and currently resides at 8

Millstone Campus Drive, #308W, St. Louis, Missouri 63146 better known as Covenant

Place and is a senior citizen having resided there for four (4) years.

       11.    Plaintiff Dorothea Parks (hereinafter “PARKS”) is a citizen of the United

States and resident of St. Louis County, State of Missouri and currently resides at 10

Millstone Campus Drive, #220 St. Louis, Missouri 63146 better known as Covenant

Place, and is a senior citizen having resided in Covenant buildings for ten (10) years.

       12.    Plaintiff Ann Frank (hereinafter “FRANK”) is a citizen of the United

States and resident of St. Louis County, State of Missouri and currently resides at 10

Millstone Campus Drive, #413, St. Louis, Missouri 63146 address better known as

Covenant Place and is a senior citizen having resided there for six (6) years.

       13.    Plaintiff Sherri Frank Weintrop (hereinafter “WEINTROP”) is a citizen

of the United States and resident of St. Louis County, State of Missouri and is the

daughter of Plaintiff FRANK as well as a Certified Public Accountant (“CPA”).
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                                  DEFENDANTS

      14.    Defendant COMMUNITY HOUSING MANAGMENT CORP.

(hereinafter “COV MGMT”) is a Missouri Nonprofit Corporation which controls the

management of the three (3) Covenant Place buildings, Covenant Place I, LLC,

Covenant Place II, LLC and Covenant Place III, LLC (hereinafter collectively “COV

BLDGS”).

      15.    Defendant Joan Denison (hereinafter “DENISON”) is a citizen of the

United States and resident of St. Louis County, State of Missouri and was employed by

COV MGMT as the person in charge of COV BLDGS management and she was

charged with supervising the staff underneath her and all times acted within the course

of her employment for COV MGMT as their agent.

      16.    Defendant Katisha Reese (hereinafter “REESE”), is a citizen of the

United States and resident of the State of Missouri and was employed by COV MGMT

during the action alleged in this complaint and acted within the scope of her

employment for COV MGMT as their agent.

      17.    Defendant Jacqueline Jones/Taylor (hereinafter “JONES”), is a citizen of

the United States and resident of the State of Missouri and was employed by COV

MGMT during the action alleged in this complaint and acted within the scope of her

employment for COV MGMT as their agent.

      18.    Defendant Randall Reinker (hereinafter “REINKER”) is Missouri

licensed attorney and a partner at the firm of Reinker, Hamilton, & Fenley LLC, who
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operated and directed others in conspiracy with the remainder of the Defendants to

achieve a larger goal of Racketeering by using fraudulent means to evict tenants and

retaliate against witnesses who provided testimony or evidence that Defendants were

acting in bad faith. This conduct goes beyond a simple malicious prosecution or abuse

of process as it is a part of a larger scheme of fraud to obtain money for REINKER

and his firm and possession of real property for their clients all while abusing the elderly

through use of fear and intimidation.

                       FACTS COMMON TO ALL COUNTS

       19.     Plaintiffs CARLETON, HORWITZ, RABER, PARKS and FRANK are

all senior citizens and residents of COV BLDGS which are managed by Defendant

COV MGMT and some tenants receive federal subsidies through the U.S. Department

of Housing and Urban Development (hereinafter “HUD”) for such residences within

COV BLDGS.

       20.     Each Plaintiff who is a tenant signed a lease with COV MGMT, such lease

is form HUD-90105a (hereinafter “Lease”) and attached to this complaint as if fully

pled herein.

       21.     Although the date each Lease was signed is different the contents of the

Lease are the same.

       22.     Such Lease requires tenants to provide financial information to COV

MGMT to be provided to HUD so that recertification may take place regarding the

tenants HUD subsidies and recalculation of their rent.
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       23.    COV MGMT is then required by the Lease to provide such information

to HUD so that tenants can receive federal subsidies lowering the amount of rent they

are to pay.

       24.    Defendant DENISON was hired by COV MGMT and in turn hired and

retained Defendant REESE and JONES to act as “recertification specialists” assisting

the elderly in recertifying their HUD subsidies.

       25.    Between November of 2020 and January 7, 2022 Defendants REESE and

JONES at the instruction of DENISON improperly conducted recertifications at COV

BLDGS attempting to force CARLETON, HORWITZ, RABER and PARKS to sign

HUD recertification forms which contained false income information.

       26.    CARLETON, HORWITZ, RABER and PARKS were given the

ultimatum by Defendants REESE and JONES to either sign the false documents and

lose some of the HUD subsidies or don’t sign the false documents, lose the subsidy

entirely and face eviction when they could not afford the astronomical market rent of

over $1,000 per month.

       27.    The Lease which is sanctioned by HUD, a Federal Housing Authority,

allows tenants to supplement the information in their recertification to show their actual

income but Defendants REESE and JONES refused to allow tenants to provide such

accurate information of their income to be considered or explain how COV MGMT

came to their recertification numbers, in breach of the Lease.
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      28.    Plaintiff WEINTROP whose mother also resides in COV BLDGS

attempted to assist CARLETON, HORWITZ, RABER and PARKS in explaining to

REESE, JONES and DENISON that the calculations were incorrect as she is a CPA

and has superior knowledge of calculating income.

      29.    REESE, JONES and DENISON refused to accept such information in

violation of the Lease and instead retaliated against WEINTROP and her mother

FRANK by banning WEINTROP from the facility under false pretense and

threatening to evict FRANK under the same false pretense.

      30.    Defendants jointly followed through with their threats and hired

REINKER who used false information to unlawfully obtain a Summary Decision to

evict RABER and PARKS and attempted to coerce the remainder of the Plaintiffs to

violate federal law by signing false recertification documents provided by REESE,

JONES and DENISON.

      31.    Plaintiff CARLETON received four (4) separate letters, two (2) of which

were dated on the same day, but all arriving in one envelope from COV MGMT

through REESE and JONES stating four (4) different amounts of rent he was to pay.

      32.    Upon asking for clarification, CARLETON received a threat from

Defendant REINKER that he was being evicted for non-compliance with the lease

despite it not being clear what amount to pay or how he had violated the Lease.
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       33.    Defendants claim that their notice of violation of the Lease is adequate

notice under HUD regulations and Missouri law despite the notice being so vague an

average person could not understand its meaning let alone an elderly individual.

       34.    However, such notice is clearly based on false information and is therefore

a fraud and untrue which does not adequately provide the notice required by the United

States Constitution or HUD regulations so that Plaintiffs could adequately defend

against allegations of Lease violations.

       35.    Plaintiff HORWITZ under the threat of an unlawful eviction signed the

false HUD recertification raising his rent and lowering the subsidy damaging him

financially and affecting interstate commerce in the amount of their federal subsidies.

       36.    Plaintiff RABER and PARKS refused to sign such false information

pointing out that signing such false information is also a violation of the Lease.

       37.    Plaintiffs CARLETON and HORWITZ are under threat of eviction for

not signing recertification paperwork that they were never provided.

       38.    HORWITZ received a letter from REINKER dated January 14, 2022

notifying him that his lease was being terminated for non-compliance despite

HORWITZ never receiving the required recertification forms to sign.

       39.    Defendants jointly through REINKER filed unlawful detainer actions

against RABER and PARKS on July 8, 2021 and subsequently a motion for summary

judgment containing false information and did so allegedly under the authority of HUD.
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      40.    REINKER did so in furtherance of the enterprise between himself and

the other Defendants so that RABER and PARKS would be deprived of a jury trial as

allowed by statute and Defendants’ fraud would remain undiscovered.

      41.    RABER and PARKS are currently set to be evicted upon execution of a

judgment based upon fraudulent information if they cannot post a bond which is

outside of their ability to pay, CARLETON still has not been provided with an accurate

amount to pay as rent and is under the steady threat of eviction and HORWITZ

continues to be forced to pay amounts he does not owe while FRANK and

WEINTROP suffer the threat of criminal prosecution for a made-up offense.

                     COUNT I-BREACH OF CONTRACT

      42.    Paragraphs 1 - 41 are realleged and incorporated herein by reference.

      43.    Plaintiffs CARLETON, HORWITZ, RABER, PARKS and FRANK all

have a valid signed the Lease with Defendant COV MGMT.

      44.    Such Lease gave both parties rights to perform under the Lease granting

Plaintiffs quiet enjoyment of the premises in exchange for rent, and as such

consideration was exchanged in the form of rent payments and the promise of quiet

enjoyment of said property.

      45.    However, Defendants intentionally and materially breached the Lease by

failing to act in refusing to accept information regarding recertification income from

CARLETON HORWITZ, RABER and PARKS and providing false information to

HUD thus causing Plaintiffs’ damages.
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      46.    Defendants further did not allow the Plaintiffs to have quiet enjoyment of

their premises as they were harassed by Defendants in violation of their Lease.

      47.    Such breach was a material breach without justification by Defendants

COV MGMT through the actions of REESE, JONES and DENISON who acted

jointly for a purpose of evicting people who questioned their competence and

controlling such real property in order to make money for themselves either through

their continued salary for a job they were not performing properly or in the case of

REINKER by evicting tenants under false pretense.

      48.    Plaintiffs have established 1) the existence of a valid contract, the Lease;

2) plaintiff’s tendered performance by providing proof of income and paying rent; 3)

the defendants’ breach of the contract by refusing to accept such proof of income to

provide to HUD or allowing Plaintiffs to have quiet enjoyment of the presmises; and

4) damages resulted in the loss of quiet enjoyment of the premises and loss of subsidies

as a result of the breach, which is necessary to prevail under federal law.

      WHEREFORE, Plaintiffs, CARLETON, HORWITZ, RABER, PARKS and

FRANK request this Court order equitable relief for Plaintiffs, 1) ordering Defendants

to refrain from executing the eviction judgments as to allow Plaintiffs to have quiet

enjoyment of their leased premises and 2) order Defendants to allow Plaintiffs’ to

present evidence of their accurate income to HUD authorities so that their correct

HUD subsidy and rent can be calculated and 3) further ask that Defendants be jointly

and severally liable, for monetary damages in the form of any additional amounts of
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lost HUD subsidies caused by Defendants breach and for any other and further relief

as this Court may deem just in the circumstances.

                    COUNT II-VIOLATION OF THE MMPA

      49.    Paragraphs 1 - 48 are realleged and incorporated herein by reference.

      50.    “The purpose of the [MMPA] is to preserve fundamental honesty, fair

play and right dealings in public transactions.” Lane House Constr., Inc. v. Triplett, 533

S.W.3d 801 (Mo. App., 2017).

      51.    The MMPA covers transactions of a consumer nature purchased primarily

for personal, family or household purposes including, leases for real estate as outlined

in R.S.Mo. §407.025.

      52.    Pursuant to R.S.Mo. § 407.020:

             1. The act, use or employment by any person of any deception,
                fraud, false pretense, false promise, misrepresentation, unfair
                practice or the concealment, suppression, or omission of any
                material fact in connection with the sale or advertisement of
                any merchandise in trade or commerce or the solicitation of
                any funds for any charitable purpose, as defined in section
                407.453, in or from the state of Missouri, is declared to be
                an unlawful practice. The use by any person, in connection
                with the sale or advertisement of any merchandise in trade
                or commerce or the solicitation of any funds for charitable
                purpose, as defined by section 407.453, in or from the state
                of Missouri of the fact that the attorney general has approved
                any filings required by this chapter as the approval, sanction
                or endorsement of any activity, project or action of such
                person, is declared to be an unlawful practice. Any act, use
                or employment declared to be an unlawful practice by this
                subsection violates this subsection whether committed
                before, during or after the sale, advertisement or solicitation.
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      53.     Here, Plaintiffs CARLETON, HORWITZ, RABER, PARKS and

FRANK have all demonstrated they purchased merchandise by signing the Lease, for

personal purposes of living in the leased premises, and have suffered an ascertainable

loss of money or property as a result of Defendants unlawful conduct.

      54.     Defendants have refused to abide by the terms of the Lease in refusing to

allow tenants quiet enjoyment and refusing to accept accurate proof of income causing

Plaintiffs to be forced to pay more rent than they should have as a result of the loss of

federal subsidy, or are being evicted for refusing to sign false forms prepared by

Defendants.

      55.     Section 3 of the MMPA makes such acts illegal, “3. Any person who

willfully and knowingly engages in any act, use, employment or practice declared to be

unlawful by this section with the intent to defraud shall be guilty of a class E felony.”

      56.     Defendants acted willfully as WEINTROP through the tenants informed

Defendants of such miscalculations but they continued to use fraud and deception in

violating the terms of the Lease to harm Plaintiffs by providing false information of

income to HUD and falsely alleging Plaintiffs violated the Lease despite Defendants

breaching material terms of the Lease.

      57.     Defendants each acted together to achieve such goal as a group and as

such should be held jointly and severally liable for damages for such willful acts.

      WHEREFORE Plaintiffs CARLETON, HORWITZ, RABER, PARKS and

FRANK pray this Court find the actions of Defendants illegal as they used fraud and
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false promise of adhering to a Lease to secure payment from Plaintiffs, then refused to

abide by such terms using fraud to damage them in their right to HUD subsidies and a

place to live in quiet enjoyment and that Defendants are jointly and severally liable for

their monetary damages in excess of $10,000.00 including attorney’s fees as allowed by

the Act and any other and further relief as this Court may deem just in the circumstance.

                                 COUNT III-FRAUD

       58.    Paragraphs 1 - 57 are realleged and incorporated herein by reference.

       59.    COV MGMT hired DENISON to act as their agent and oversee COV

BLDGS including REESE and JONES who along with REINKER committed both

common law fraud as well as wire and mail fraud.

       60.    18 U.S.C. §1341 and §1343 outline the elements of Mail and Wire Fraud

requiring the use of an interstate mail/telephone call or electronic communication made

in furtherance of the scheme, the only difference is whether it is via mail or wire.

       61.    These elements are more clearly delineated in case law as 1) The defendant

voluntarily and intentionally devised or participated in a scheme to defraud another out

of money; 2) that the defendant did so with the intent to defraud; 3) that it was

reasonably foreseeable that interstate mail/wire communications would be used; and 4)

that interstate wire communications were in fact used.

       62.    Here Plaintiffs state Defendants intentionally used mail and wire to send

letters terminating Plaintiffs leases, despite not having the legal right to do so, and such

communications contained false information regarding federal HUD subsidies to the
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Plaintiffs, to the Department of Urban Housing and Development and the Missouri

State Courts for them to rely upon.

      63.     Pursuant to Rule 9(b), the time, place and content and fraudulent acts were

as follows:

              a. DENISON ordered REESE, JONES and REINKER to take the

                 following fraudulent actions on the following dates in the following

                 manner.

              b. REESE took the following actions against the following Plaintiffs:

                     i. CARLETON-received a letter from REESE on 8/12/2021

                        stating that his rent amount was $556.00 effective 8/1/2020 but

                        then on the same day received an identical letter stating that his

                        rent amount was $712.00 effective 10/1/2020 and then received

                        a third letter from the same date sent by REESE stating his rent

                        amount was $717.00 effective 11/1/2020 and finally received a

                        fourth letter the same day stating his rent amount was $724.00

                        effective 11/1/2021. Each of these letters had a HUD form

                        50059 attached which contained false information regarding

                        CARLETON’s income, such representations by REESE were

                        false and she knew they were false.

                    ii. RABER-received a letter from REESE on 4/7/2021 stating

                        that her rent amount was $689.00 based on her income and
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                    included the HUD form 50059 which contained false

                    information regarding RABER’s income. REESE knew such

                    information was false.

                iii. HORWITZ-received a letter from REESE notifying him of his

                    rent increase to $1,058.00 effective 12/1/2020 with a HUD

                    form 50059 attached, such form contained false information

                    relating to HORWITZ’s income thereby affecting his rent.

                    HORWITZ received a second letter from REESE dated

                    8/16/2021 demanding evidence of income that did not exist in

                    the form of a Goldman Sachs account that had previously been

                    closed or else he would be in violation of his lease which was

                    false. REESE knew such information was false.

                iv. PARKS-received a letter from REESE stating her rent would

                    increase to $639.00 effective 4/1/2021 with a HUD 50059 form

                    attached. Such information was false and REESE was aware of

                    that such information was false when she sent it.

          c. JONES took the following actions against the following Plaintiffs:

                 i. CARLETON-received a letter revoking his subsidy “due to

                    your failure to recertify in a timely manner”, “because of your

                    failure to sign the HUD 50059, the subsidy for your unit will be

                    terminated” on 10/8/2021 despite him supplying the relevant
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                    income information and REESE and JONES refusing to accept

                    such information pursuant to the Lease to take to HUD.

                    JONES knew such information was false because she and

                    REESE had provided multiple forms making it impossible for

                    CARLETON to know which to sign. JONES also sent a letter

                    dated 11/16/2021 titled Notice of Termination of Lease due to

                    “material non-compliance”, “you have violated your lease by

                    having an adverse financial effect on the project, failing to timely

                    supply all required information to meet the disclosure and

                    verification requirements, signing the required HUD 50059

                    form, and failing to timely pay rent.” This information again

                    was false as he had submitted all required information

                    nevertheless JONES filed an affidavit to the contrary.

                ii. PARKS-received a letter dated 5/18/2021 terminating her

                    subsidy due to failure to recertify in a timely manner.

                    “According to our records, you have been paying rent in the

                    amount of $639.00. This is not the amount of rent that you are

                    to pay.” This was false as PARKS had tried to comply and

                    JONES sent a letter dated 4/8/2021 stating that PARKS rent

                    was adjusted to $639.00 effective 4/1/2021 and that she owed

                    an outstanding balance of $1,774.00. JONES sent another letter
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                    dated 6/4/2021 stating that PARKS lease was terminated and

                    her subsidy was terminated as of 3/31/2021 despite the

                    4/8/2021 letter stating her rent amount including subsidy.

                    Clearly one if not both letters contained false information.

                iii. RABER-received a letter dated 5/18/2021 from JONES that

                    her subsidies were terminated due to her failure to recertify in a

                    timely manner however, this information was false as RABER

                    gave additional information to REESSE on two separate

                    occasions but REESE refused to recalculate the “other income”

                    on the Form 50059. RABER also received a letter dated

                    6/4/2021 from JONES terminating her lease based on her

                    failure to timely recertify which was again false as she had

                    attempted to timely recertify.

                iv. HORWITZ-received a letter dated 10/8/2021 from JONES

                    terminating his subsidy for his failure to sign the HUD 50059

                    form and that because of such failure his rent would increase to

                    market rate of $1,526.00 and him being given a 30 day notice to

                    vacate despite him never receiving a HUD form 50059 to sign

                    by any representative of Defendants and as such the content of

                    that letter was clearly false.

          d. REINKER took the following actions against the following Plaintiffs:
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                 i. CARLETON-received a letter from REINKER’s employee at

                    his demand, terminating CARLETON’s Lease for fraudulent

                    reasons which were made up and include it being terminated

                    due to material non-compliance alleging violations of his lease

                    which had an adverse financial impact on the project in failing

                    to timely supply all required information to meet the disclosure

                    and verification requirements and for refusing to sign the HUD

                    50059 form and timely pay rent. However, CARLETON did

                    timely submit all information and simply asked for which

                    amount he was to pay and which was an accurate HUD 50059

                    form as he received four (4). This document was also signed in

                    the form of an affidavit by JONES and was false.

                ii. HORWITZ-received a letter from REINKER on 8/6/2020

                    stating his rent increased in October of 2020 due to his recent

                    unexplained increase in income. HORWITZ’s income did not

                    increase as he tried to explain he had received reimbursement

                    from his sister but it was not income. REINKER continued

                    with this false information as if HORWITZ’s explanation was

                    not acceptable despite the Lease requiring him to accept it.

                    HORWITZ was somehow attributed an additional $24,252 of
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                    income that no one could explain why it showed up to him as

                    income as he never received that money.

                iii. PARKS-was evicted because REINKER sent information, he

                    knew to be false to the court through wire on 9/27/2021 in the

                    form of Plaintiff’s Statement of Uncontroverted Material Facts

                    stating that PARKS Lease was terminated for material non-

                    compliance and for other good cause despite knowing that

                    PARKS had attempted to recertify and it was REESE, JONES

                    and DENISON who had refused to comply with the Lease.

                    Defendants through REINKER electronically filed with St.

                    Louis County Courts documents which contained more false

                    information in that it claimed PARKS lost her subsidy and her

                    non-payment was the reason for her termination of her lease as

                    of 4/1/2021 but PARKS received a separate letter from

                    REESE that her rent was $639.00 effective 4/1/2021 and she

                    received such letter on 4/8/2021 stating the representations

                    made to the Court were false.

                iv. RABER-was evicted because REINKER sent information, he

                    knew to be false to the court through wire on 9/27/2021 in the

                    form of Plaintiff’s Statement of Uncontroverted Material Facts

                    stating that RABER’s Lease was terminated for material non-
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                         compliance and for other good cause despite knowing that

                         RABER had attempted to recertify and it was REESE, JONES

                         and DENISON who had refused to comply with the Lease.

                         Defendants through REINKER electronically filed with St.

                         Louis County Courts documents contained more false

                         information in that it claimed RABER lost her subsidy and her

                         non-payment was the reason for her termination of her lease

                         but such recertification was to take place on 3/10/2021 and

                         RABER did not even receive the intake packet until 4/7/2021

                         so it is apparent RABER did not have the opportunity to

                         recertify as she was never provided with the paperwork by

                         Defendants.

       64.    Defendants committed common law fraud as 1) representations of fact

have been made, 2) which were false, 3) the misrepresentations were material, 4) the

representers knew of their falsity, 5) the representers intended that it should be acted

upon by the person in the manner reasonably contemplated, 6) the injured party was

ignorant to its falsity, 7) the injured party’s reliance on its truth, 8) the injured party’s

right to rely thereon; and 9) the injured party’s consequent and proximate injury.

       65.    Through such acts of fraud, Defendants REESE and JONES sought to

cover up their miscalculations of HUD subsidies and with the assistance of DENISON,

who all were aware of such miscalculations.
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      66.     In furtherance of this conspiracy, they hired REINKER to punish tenants

who complained that REESE, JONES and DENISON were violating the Lease.

      67.     Defendants REESE, JONES and DENISON took these actions to

protect their jobs and resulting income derived therefrom despite not performing their

job duties and abiding by the terms of the Lease on behalf of COV MGMT, such Lease

was relied upon by all of the Plaintiffs who were tenants, to their detriment in signing

the Lease and moving in to COV BLDGS.

      68.     The representations in the Lease, which are in writing between COV

MGMT and CARLETON, HORWITZ, RABER, and PARKS allowed them to provide

accurate income numbers so their HUD subsidy could be calculated, such

representations were false as REESE, JONES and DENISON knew of their falsity and

intended only to provide such information which they deemed appropriate which was

a breach of a material term of the lease which was relied upon by Plaintiffs in signing

such Lease.

      69.     Such false representations by Defendants individually and jointly in

furtherance of their improper goals are the proximate cause of Plaintiffs damages as

they were not allowed to present such accurate information and are now either paying

too much or are under the unlawful threat of eviction.

      WHEREFORE, CARLETON, HORWITZ, RABER, PARKS and FRANK

pray this Court find that Defendants jointly and severally committed acts which amount

to mail fraud, wire fraud and common law fraud, which are the proximate cause of
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Plaintiffs damages resulting from such intentional and willful misrepresentation and

that Plaintiffs recover from Defendants their actual monetary damages in an amount in

excess of $10,000.00, punitive damages to discourage such similar behavior in the future

and any other and further relief as this Court may deem just in the circumstances.

                      COUNT IV-CIVIL RIGHTS VIOLATIONS

      70.       Paragraphs 1 - 69 are realleged and incorporated herein by reference.

      71.       Amendment XIV to the U.S. Constitution states in part:

             All persons born or naturalized in the United States, and subject
             to the jurisdiction thereof, are citizens of the United States and
             of the state wherein they reside. No state shall make or enforce
             any law which shall abridge the privileges or immunities of
             citizens of the United States; nor shall any state deprive any
             person of life, liberty, or property, without due process of law;
             nor deny to any person within its jurisdiction the equal
             protection of the laws.

       72.      The Missouri Constitution contains similar language.

       73.      Defendants COV MGMT through REESE, JONES and under the

direction of DENISON hired REINKER used fraud to unlawfully evict Plaintiffs

through the Missouri State Courts allegedly under the authority from HUD, depriving

Plaintiffs of their right to a jury trial or defense, without due process of law, by providing

false information to the court as part of such legal actions.

       74.      REINKER presented information he knew to be false in order to deprive

Plaintiffs of their rights under the law including, falsely alleging they could be evicted
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or arrested for conduct which is lawful and further presenting information he knew to

be false to institute a lawsuit and file a motion for summary decision.

      75.    Plaintiffs state Defendants jointly, acting under the Federal Housing

Authority’s authorization, improperly terminated RABER and PARKS Federal

Housing Subsidies and threatened the rest of the Plaintiffs with legal action through the

Missouri State courts which could not legally be taken thereby depriving them of their

due process rights through state action in combination with Defendants joint actions

described in this complaint.

      76.    Defendants conspired to bring legal action based on false information to

deprive Plaintiffs RABER and PARKS of a right to a trial by jury as allowed by R.S.Mo.

§534.160 or to defend themselves through the Courts in any meaningful way on the

merits.

      77.      When Defendants falsely claimed that RABER and PARKS violated

their Lease and submitted such documents to the Missouri State Courts and HUD, this

deprived RABER and PARKS of their right to due process and equal access to federal

subsidies and Defendants took such actions under the alleged authority of a federal

agency, and such actions prevented RABER and PARKS from addressing the merits of

their case where they would have been successful in the defense of their unlawful

detainer action showing Defendants were not in compliance with HUD regulations and

did not have HUD authority to terminate their leases.
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      78.    Such actions were taken deliberately under color of law by fraudulent use

of the Courts and false authority of a federal agency, HUD, with the intent to deprive

senior citizens of their property rights under the Lease through improper use of the law

which violates the Missouri Constitution Due Process Clause and the United States

Constitution Due Process Clause.

      WHEREFORE Plaintiffs RABER and PARKS pray that this Court determine

that their rights to due process under the United States and Missouri Constitution have

been violated by Defendants, that the joint actions of Defendants towards this goal

makes them jointly and severally liable for the damages of RABER and PARKS

including over $10,000.00 in damages and attorney’s fees under 42 U.S.C. §1988 and

other and further relief as this Court may deem just in the circumstances.

                         COUNT V-RICO VIOLATION

      79.    Paragraphs 1 - 78 are realleged and incorporated herein by reference.

      80.    Defendant REINKER violated 18 U.S.C. § 1962(c) by conducting the

affairs of an enterprise through a common pattern of racketeering activity.

      81.    18 U.S.C. 1962(c) states:

             It shall be unlawful for any person employed by or associated
             with any enterprise engaged in, or the activities of which affect,
             interstate or foreign commerce, to conduct or participate,
             directly or indirectly, in the conduct of such enterprises affairs
             through a pattern of racketeering activity or collection of
             unlawful debt.
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      82.     In order to succeed in a civil RICO action Plaintiffs must allege 1) an

enterprise existed, 2) defendants derived income from a pattern of racketeering activity

and 3) the use of any part of that income in acquiring an interest in or operating the

enterprise.

      83.     Plaintiffs allege an enterprise existed between REESE, JONES,

DENISON and REINKER, where REINKER derived income through evicting

tenants using wire and mail fraud. He did so in order to protect the jobs and paychecks

of REESE, JONES and DENISON who were also using fraud, coercion to obtain

money for COV MGMT who issued their paychecks and paid REINKER per eviction.

      84.     Plaintiffs allege REINKER participated in wire and mail fraud in mailing

and filing documents which he knew contained false information to the state court in

evicting RABER and PARKS and threatening letters to the rest of the Plaintiffs in order

to illegally coerce and extort monies Defendants which they were not legally entitled to

under the Lease.

      85.     REINKER also engaged in racketeering through making illegal and

perverse threats to WEINTROP and FRANK, who is a senior citizen suffering from

neurological disease. Specifically, REINKER threatened WEINTROP with arrest and

FRANK with an unlawful eviction should WEINTROP attempt to visit her elderly

mother at COV BLDGS. This was a blatant retaliation for WEINTROP’s attempts to

assist the other Plaintiff tenants in disputing the improper cancelation or manipulation

of their HUD subsidies by the COV MGMT defendants. REINKER’s conduct was an
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egregious abuse of process and unlawful conspiracy because REINKER conspired with

the other defendants to make illegal threats against WEINTROP and FRANK that

were neither warranted nor authorized by law and which could not be taken except

through fraudulent action.

       86.    REINKER engaged in such activities at the behest of REESE, JONES

and DENISON creating an enterprise where he derived money from unlawfully

threatening evictions or arrest of Plaintiffs, in order for the enterprise to maintain

control of the COV BLDGS, so they could all derive income from such property

management, despite using fraud and coercion to maintain such control.

       87.    Plaintiffs allege REINKER himself and through actions of his employees

at his direction coerced and extorted the elderly on multiple occasions using fraud for

his own profit, charging COV MGMT for each senior he evicted unlawfully, thereby at

least indirectly deriving income from his illegal actions.

       88.    REINKER derived income through such practice of fraud and extortion

on multiple occasions as proven by RABER and PARKS fraudulent evictions and

CARLETON’s notice that he was in violation of his Lease for failure to recertify and

non-payment despite not being told what amount to pay nor being presented with the

HUD form 50059 to sign.

       89.    Such acts of coercion are considered extortion and abuse of process and

are punishable under federal law for wire and mail fraud and specifically under MMPA
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as a Class E Felony in Missouri which can carry up to four (4) years imprisonment

making such activity racketeering activity as defined by the RICO statute.

      90.    Such activities involving tenants of the COV BLDGS affect interstate

commerce in that such tenants receive HUD subsidies and such activity affected the

influx of federal housing subsidies into Missouri.

      91.     REESE, JONES and DENISON maintained control of the properties

known as COV BLDGS through their use of REINKER in their enterprise where they

all derived income from acts of fraud and extortion of the elderly, for if their acts had

been discovered, they would be fired and lost such significant income.

      WHEREFORE Plaintiffs CARLETON, HORWITZ, RABER, PARKS,

FRANK and WEINTROP pray that this Court find Defendants REESE, JONES,

DENISON and REINKER actions amounted to illegal acts under the RICO statute,

ordering equitable relief in preventing REINKER from evicting tenants of COV

BLDGS and requiring REESE, JONES, including treble damages for the severe

emotional and monetary damages caused to the parties by REESE, JONES,

DENISON and REINKER’s actions, for attorney’s fees and any other and further

relief as this Court may deem just in the circumstances

                   COUNT VI-NEGLIGENT SUPERVISION

      92.    Paragraphs 1 – 91 are realleged and incorporated herein by reference.

      93.    COV MGMT was under a duty to supervise its employees such as

DENISON, REESE and JONES to make sure they perform their duties in a reasonable
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manner and failed to do so or allowed them to act in an improper way ignoring the

terms of the parties Lease and unlawfully evicting the elderly.

      94.    DENISON was under a duty to supervise REESE and JONES under her

authority from COV MGMT and also failed to properly supervise them by allowing

them to take improper actions in violating the Lease between the parties under the

authority of COV MGMT.

      95.    Plaintiffs all have been damaged by such negligence, failure to train staff,

failure to train staff in how to deal with the elderly and failure to correct improper

actions by staff and management.

      WHEREFORE Plaintiffs CARLETON, HORWITZ, RABER, PARKS,

FRANK and WEINTROP pray that this Court find Defendants COV MGMT and

DENISON failed to properly supervise and such negligence by both is the proximate

cause of Plaintiffs damages asking for monetary relief in an amount in excess of

$10,000.00, and any other and further relief as this Court may deem just in the

circumstances.

                                                Respectfully submitted,

                                                THE LAW OFFICE OF
                                                MATTHEW T SINGER

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